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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,                                     Criminal No. 17-CR-20274

 vs.                                                   HON. BERNARD A. FRIEDMAN

 JUMANA NAGARWALA, et al.,

       Defendants.
 _____________________________/

                 ORDER GRANTING DEFENDANTS’ MOTION TO
                COMPEL DISCOVERY OF FORENSIC INTERVIEWS

                                           and

       ORDER GRANTING DEFENDANTS’ MOTION FOR A CONTINUANCE

                                           and

                     FINDING OF EXCLUDABLE DELAY UNDER
                            THE SPEEDY TRIAL ACT


               On September 26, 2018, this matter came before the Court on (1) defendants’

 motion to compel discovery of forensic interviews [docket entry 304] and (2) defendants’

 motion for a continuance [docket entry 335]. A hearing was held and oral argument heard.

 For the reasons stated on the record,
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                 IT IS ORDERED that defendants’ motion to compel discovery of forensic

 interviews is granted. The government is to provide defendants with the discovery material

 at issue within thirty (30) days of the date of this order.



                 IT IS FURTHER ORDERED that defendants’ motion for a continuance is

 granted. The trial shall commence on April 29, 2019. All motions, other than motions in

 limine, are due by January 29, 2019.



                 IT IS FURTHER ORDERED that because this continuance is being granted

 at defendants’ request and in the interest of justice, the period of time between the previously

 scheduled trial date (January 15, 2019) and the new trial date (April 29, 2019) is excluded

 under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A). Defendants are directed to

 acknowledge this by filing a waiver of speedy trial excluding this period of delay.



 Dated: September 28, 2018               s/Bernard A. Friedman
 Detroit, Michigan                       BERNARD A. FRIEDMAN
                                         SENIOR UNITED STATES DISTRICT JUDGE


                                       CERTIFICATE OF SERVICE
 The undersigned certifies that a copy of the foregoing order was served upon each attorney or party of
 record herein by electronic means or first class U.S. mail on September 28, 2018.
                                         s/Johnetta M. Curry-Williams
                                         Case Manager




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